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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

In re:                                                         §       CHAPTER 11 CASE
                                                               §
CONNECT TRANSPORT, L.L.C., et al.,                             §       CASE NO. 16-33971-hdh-11
                                                               §       (Jointly Administered)
                    Debtors.                                   §

                      Global Notes and Statement of Limitations, Methodology,
                   and Disclaimers Regarding the Debtors’ Schedules and Statement

        Debtors Connect Transport, L.L.C. (“Connect Transport”), Murphy Energy Corporation
(“MEC”) and their respective parent and subsidiary debtor entities (collectively, the
“Affiliates”), 1 as debtors and debtors-in-possession (collectively, the “Debtors”) in the above
captioned cases (the “Cases”), each commenced voluntary chapter 11 petitions on October 4,
2016 (the “Petition Date”).

       In keeping with the Debtors’ historical consolidated reporting, the Debtors file these
Schedules of Assets and Liabilities (the “Schedules”) and the Statement of Financial Affairs (the
“SOFA” and collectively with the Schedules, the “Schedules and Statement”) for all Debtors.
The Schedules and Statement are filed in each of the Debtors’ respective Chapter 11 case
pursuant to 11 U.S.C. § 521 and Rule 1007 of the Federal Rules of Bankruptcy Procedure.

        The following Schedules and accompanying Statement of Financial Affairs were
prepared based upon the most current information available from the Debtors’ books and records
as well as reference to other sources of data and information. The Debtors, in the normal course
of their business, do not prepare separate entity financial statements or reports, although detail
data is may be captured by entity. The Debtors have experienced difficulties with their financial
reporting systems for an extended period due in part to the fact that the systems are not fully
integrated and certain inherent incompatibilities with the Debtors’ business and reporting needs.
Consequently, the Debtors’ most recent close of its books and records was through the month of
June 2016.

         The Debtors and their professionals have engaged in and employed reasonable means and
processes to prepare the Schedules and accompanying Statement of Financial Affairs based upon
the most reliable data and information available under the circumstances. Accordingly, the
Schedules and accompanying Statement of Financial Affairs may contain inaccuracies or be
lacking certain information for a complete and accurate presentation of the Debtors’ assets,
liabilities and financial affairs. The Debtors and their professionals will continue efforts to
identify areas of insufficient disclosure, missing or inaccurate information or data. The


1 The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Murphy Energy Corporation (6520); Murphy Holdings, Inc. (5447); Connect Terminals, LLC (8999);
Connect Transport, LLC (6498); MG Rolling Stock Land, LLC (8749); Murphy Terminal, LLC (3482); Big Rig
Tanker, LLC (8517); Port Hudson Terminal, LLC (5596); Port Allen Terminal, LLC (5058).

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Schedules and Statement will be amended as deemed appropriate and necessary for a complete
and accurate disclosure of the Debtors’ assets, liabilities and financial affairs.

        While the Debtors have made reasonable efforts to ensure that the Schedules and
Statement are accurate and complete based on information that was available to them at the time
of preparation, subsequent information or discovery may result in material changes to these
Schedules and Statement, and inadvertent errors or omissions may exist. Moreover, because the
Schedules and Statement contain unaudited information that is subject to further review and
potential adjustment, there can be no assurance that these Schedules and Statement are 100%
complete and accurate. Furthermore, nothing contained in the Schedules and Statement shall
constitute a waiver of rights with respect to these Chapter 11 cases and specifically with respect
to any issues involving equitable subordination and/or causes of action arising under the
provisions of Chapter 5 of the bankruptcy code and other relevant nonbankruptcy laws to recover
assets or avoid transfers.

        These Global Notes and Statement of Limitations, Methodology, and Disclaimers
Regarding Debtors’ Schedules and Statement (the “Global Notes”) are incorporated by reference
in, and comprise an integral part of, the Schedules and Statement, and should be referred to and
reviewed in connection with any review of the Schedules and Statement.

        Unless noted below or in the Schedules and Statement, all assets and liabilities should be
deemed as belonging to, or asserted against, the entity in which case the Schedules and
Statement are filed. Notwithstanding the potential for certain creditors to assert claims jointly
against more than one bankruptcy estate, such creditors are entitled to a single payment on
account of such claim. The ability to assert claims against multiple estates shall not entitle any
creditor to multiple payments or recoveries on account of the same underlying obligation.

Amendment

        While reasonable efforts were made to file complete and accurate Schedules and
Statement, inadvertent errors or omissions may exist. The Debtors reserve all rights to amend
and/or supplement their Schedules and Statement as is necessary and appropriate.

Basis of Presentation

       These Schedules and Statement do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles.

Current Market Value of Assets

        It would be prohibitively expensive, unduly burdensome, and an inefficient use of estate
assets for the Debtors to obtain current market valuations of all of their assets. With the
exception of the appraisal of certain motor vehicles in May 2016, the Debtors do not have
appraisals of their assets. The asset values presented in the Schedules are based upon the best
information available at this time and may not be representative of fair market value. The actual
amount realized on the sale of particular assets, or groups of assets, in a sale to third parties may
differ significantly from the amounts presented herein. For this reason, the amount ultimately

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realized from assets may vary from book value and such variance may be material. Exceptions
to this include operating cash and certain other assets. Values for accounts receivable are shown
as a gross amount as of the Petition Date, without reducing for the cost of collection, the
likelihood the some accounts may be uncollectible, and the rights that such account debtors may
have to net or offset claims against such accounts receivable.

Excluded Assets and Liabilities

        The Debtors have excluded certain categories of assets and liabilities from the Schedules
and Statement such as good will, ordinary course employee benefit accruals, and deferred assets,
losses and gains. Other nonmaterial assets and liabilities may also have been excluded.

General Reservation of Rights

        The Debtors specifically reserve the rights to amend, modify, supply, correct, change or
alter any part of its Schedules and Statement as and to the extent necessary and appropriate.

Causes of Action

        The Debtors, despite their efforts, may not have set forth all of their causes of action
against third parties as assets in its Schedules and Statement. The Debtors reserves their rights
with respect to any causes of action they may have and neither these Global Notes nor the
Schedules and Statement shall be deemed a waiver of any such causes of action.

Claims Description

        By failing to designate a claim on the Schedules and Statement as “disputed,”
“contingent,” and/or “unliquidated,” the Debtors indicate no intentions for such claim to be
allowed and paid pursuant to the proposed plan. The Debtors reserve the right to amend the
Schedules or object to any scheduled claims if they discover reasons to dispute any claims.2
Moreover, these Schedules shall not be construed as an admission by the Debtors in the event
that a creditor files a proof of claim. The Debtors expressly reserve the right to object to any
filed claims.

Explanation for Schedule F, Exhibit F-1 (in MEC, Case No. 16-9974)

       In MEC’s Schedules, the Debtors have attached an Exhibit F-1, listing royalty interest
owners in various oil and gas wells from which Murphy Energy Corporation is, or has been, the
purchaser of hydrocarbon products. These parties are scheduled and disclosed in this manner
due to the voluminous volume that would otherwise result from inclusion on Schedule F in the
customary manner. These parties have all been noticed of the bankruptcy filing and the
scheduled 341 hearing.


2
  If it becomes necessary to amend the Schedules for such purposes, the Debtors will agree to an extension of the
claims bar date for the affected creditors. Presently, the Court has designated February 7, 2017, as the general
claims bar date for non-government agency creditors.

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         Not every party listed on the Exhibit F-1 may be a creditor as of the Petition Date.
However, as of the date of filing of its Schedules, the Debtors’ third-party service provider had
not completed the detail processing of the purchase data to enable the Debtors to know with
clarity the amounts owed, if any, to each party listed. The Debtors will supplement Schedule F,
as needed, to include the detail necessary to properly schedule any claims held by such parties.
Moreover, if the circumstances require, the Debtors may be amenable to a brief extension of the
general claims bar date (currently set for February 7, 2017), to allow such parties adequate time
to file proofs of claim.

        Additionally, the parties on the attached Exhibit F-1 may have lien rights under certain
statutory provisions of various states, and in particular Oklahoma and Texas. Furthermore, the
operators of the various oil and gas properties in which parties on the attached Exhibit F-1 own
an interest may have a claim against MEC, which claim will likely include any claim amount of
the parties listed on the attached Exhibit F-1. The Debtors reserve the right to object to any
duplicative claims scheduled for, or filed by, a non-operating interest owner whose claim is
included in any claim scheduled for, or filed by, an operator.

        Lastly, the parties listed on the attached Exhibit F-1 as well as oil and gas operators may
have a claim as a potential secured creditor under the aforementioned state oil and gas statutory
provisions of various states. These creditors are listed on Schedule F rather than Schedule D
because the Debtors do not yet have the requisite information necessary to trace title and custody
of the crude oil and natural gas liquids products back through the various exchanges and/or
purchase and sale transactions that may have occurred to determine with clarity those
transactions for which the Debtors are an actual “first purchaser” of product. To this end, the
Debtors have sought relief from the Bankruptcy Court to expedite the process of identifying
transactions for which the Debtors are the first purchaser of hydrocarbon products. The Debtors
reserve the right to object to, or otherwise seek a determination regarding the nature, extent,
validity and priority of, any secured claim asserted by any operator or non-operating working
interest owner, as set forth more fully in other pleadings and orders filed in the Bankruptcy
Cases.




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 Fill in this information to identify the case:

 Debtor name            Port Allen Terminal, LLC

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF TEXAS

 Case number (if known)               16-33979
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $                    0.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $                      0.00




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Port Allen Terminal, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33979
                                                                                                                      Check if this is an
                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                         12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

     No.    Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                         debtor's interest

 Part 2:     Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No.    Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 1
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 Debtor         Port Allen Terminal, LLC                                                      Case number (If known) 16-33979
                Name


     Yes Fill in the information below.

 Part 7:    Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Pipeline Right of Way
                     and Servitude by and
                     between Exxonmobil
                     Pipeline Company,
                     Grantor, and Port
                     Allen Terminal, LLC,
                     Grantee, dated
                     February 5, 2016 for
                     construction of a 6
                     inch pipeline for
                     transportation of
                     NGL products from
                     the Port Allen facility
                     into the Exxonmobil
                     pipeline adjacent to
                     the Port Allen facility.
                     Ssubject to reversion
                     to Grantor if Grantee
                     does not transport
                     product for a
                     continuous period of
                     12 months.                                                             $0.00                                                   $0.00




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         Port Allen Terminal, LLC                                                     Case number (If known) 16-33979
                Name


             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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 Debtor          Port Allen Terminal, LLC                                                                            Case number (If known) 16-33979
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                      $0.00       + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                         $0.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Fill in this information to identify the case:

 Debtor name          Port Allen Terminal, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)              16-33979
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Bank of America, N.A.                         Describe debtor's property that is subject to a lien                         $0.00                      $0.00
        Creditor's Name

        901 Main Street, 11th Floor
        Dallas, TX 75201
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                  $0.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Port Allen Terminal, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33979
                                                                                                                                                Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                              Contingent
                                                                              Unliquidated
           Date or dates debt was incurred
                                                                              Disputed
           Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                     related creditor (if any) listed?                account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                             0.00

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                                0.00




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Port Allen Terminal, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33979
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Port Allen Terminal, LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         16-33979
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




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